                 Case 5:17-cr-00043-MTT-CHW Document 182 Filed 10/10/18 Page 1 of 1
AO 245A (Rev. 12/03) Judgment of Acquittal



                                     UNITED STATES DISTRICT COURT
                                                 MIDDLE DISTRICT OF GEORGIA

          UNITED STATES OF AMERICA
                                                                 JUDGMENT OF ACQUITTAL
                  V.
   CENTRAL GEORGIA PARTNERSHIP FOR
      INDIVIDUAL AND COMMUNITY
             DEVELOPMENT                                         CASE NUMBER: 5:17-CR-43-003-MTT-CHW




       The Defendant was found not guilty. IT IS ORDERED that the Defendant is acquitted, discharged,
and any bond exonerated.




                            s/Marc T. Treadwell
                                 Signature of Judge

      MARC T. TREADWELL, UNITED STATES DISTRICT JUDGE
                    Name and Title of Judge

                               October 10, 2018
                                         Date
